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  16
                              UNITED STATES DISTRICT COURT
  17
                             CENTRAL DISTRICT OF CALIFORNIA
  18
       MOSAFER INC.; MOSAFER ECOM,                      CASE NO. 2:21-cv-06320-MCS-JC
  19 INC.; and GOMOSAFER,
                                                        BROIDY DEFENDANTS AND
  20                                                    COUNTERCLAIM-PLAINTIFFS’
                   Plaintiffs,
  21         vs.                                        EX PARTE MOTION FOR
                                                        ISSUANCE OF SUMMONS TO
  22
       ELLIOTT BROIDY; et al.,                          COUNTERCLAIM-DEFENDANT
  23
                   Defendants.                          STATE OF QATAR
  24

  25

  26 AND RELATED COUNTERCLAIM.

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              BROIDY DEFENDANTS’ EX PARTE MOTION FOR ISSUANCE OF A SUMMONS TO THE STATE OF QATAR
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   1
            BROIDY DEFENDANTS AND COUNTERCLAIM PLAINTIFFS’
              EX PARTE MOTION FOR ISSUANCE OF SUMMONS TO
   2           COUNTERCLAIM-DEFENDANT STATE OF QATAR
   3        Defendants and Counterclaim Plaintiffs’ Elliott Broidy (“Broidy”), Broidy
   4 Capital Management, LLC (“BCM”), and Circinus, LLC (“Circinus”)

   5 (collectively, the “Broidy Defendants”), pursuant to the Court’s Minute Order of

   6 November 1, 2021, provide the following statement regarding the request for a

   7 summons directed to Counterclaim-Defendant State of Qatar:

   8        1.        On October 7, 2021, the Broidy Defendants filed a counterclaim
   9 against multiple parties, including the State of Qatar.

  10        2.        On October 25, 2021, counsel for the Broidy Defendants met and
  11 conferred with counsel for the State of Qatar in a separate action to request a

  12 special arrangement for service pursuant to 28 U.S.C. § 1608(a)(1). Counsel for

  13 the State of Qatar in that action denied that request. We have been unable to

  14 identify who represents the State of Qatar in the above-captioned action.

  15        3.        Moreover, the State of Qatar is not party to any applicable
  16 international convention on service of judicial documents that would permit

  17 service under 28 U.S.C. § 1608(a)(2).

  18        4.        Thus, the Broidy Defendants are attempting service under 28 U.S.C.
  19 § 1608(a)(3) “by sending a copy of the summons and complaint and a notice of

  20 suit, together with a translation of each into the official language of the foreign

  21 state, by any form of mail requiring a signed receipt, to be addressed and

  22 dispatched by the clerk of the court to the head of the ministry of foreign affairs of

  23 [Qatar].”

  24        5.        Accordingly, on October 28, 2021, the Broidy Defendants requested a
  25 summons directed to the State of Qatar. See Dkt. No. 54. The proposed summons

  26 included a 60-day response deadline, pursuant to 28 U.S.C. § 1608(d). That statute

  27 provides: “In any action brought in a court of the United States or of a State, a

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                 BROIDY DEFENDANTS’ EX PARTE MOTION FOR ISSUANCE OF A SUMMONS TO THE STATE OF QATAR
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   1 foreign state . . . shall serve an answer or other responsive pleading to the

   2 complaint within sixty days after service has been made under this section.”

   3 28 U.S.C. § 1608(d).

   4         6.        On October 29, 2021, the Clerk of Court rejected the Broidy
   5 Defendants’ request, because: “[The Broidy Defendants] altered summons as to 60

   6 days. . . . Foreign Countries and Foreign entities are not applicable.” Dkt. No. 56.

   7 The Clerk instructed the Broidy Defendants to “correct the defect and re-file your

   8 summons request.” Id.
   9         7.        Pursuant to the Clerk’s instruction, the Broidy Defendants re-filed
  10 their summons request with a 21-day deadline. See Dkt. No. 57.

  11         8.        On November 1, 2021, 1 the Court rejected the Broidy Defendants’
  12 request for the summons to the State of Qatar with the 21-day deadline. See Dkt.

  13 No. 59. In its Minute Order, the Court directed the Broidy Defendants to seek

  14 relief “if any of the service methods in 28 U.S.C. § 1608(a)(1)[-](3) are

  15 insufficient.” Id.

  16         9.        Pursuant to the Court’s directive, the Broidy Defendants state that
  17 service under § 1608(a)(1)-(2) cannot be effectuated for the reasons discussed

  18 above.

  19         10.       Rather, the Broidy Defendants seek to effectuate service through
  20 § 1608(a)(3), not § 1608(a)(4).

  21         11.       The Broidy Defendants believe that a summons requiring the State of
  22 Qatar to respond to the counterclaim within 21 days may be appropriate based on

  23   1
         Separately, the Court also rejected the Broidy Defendants’ unrelated requests for
  24   summonses to be issued to Counterclaim-Defendants Abu Issa Holding WLL,
       Ashraf Abu Issa, and Nabil Abu Issa. See Dkt. Nos. 55, 58. Notably, counsel for
  25
       these Counterclaim-Defendants has already agreed to accept service of the
  26   summonses through a Notice of Acknowledgement of Service. See Dkt. No. 52.
       The Broidy Defendants therefore respectfully request that the Court reconsider its
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       rejection of these requests for summonses at Dkt. No. 55.
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                  BROIDY DEFENDANTS’ EX PARTE MOTION FOR ISSUANCE OF A SUMMONS TO THE STATE OF QATAR
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   1 the summons that the Clerk issued in the prior case of Broidy Capital Mgmt., LLC,

   2 et al. v. State of Qatar, et al., 2:18CV2421, Dkt. No. 9, which included a 21-day

   3 response deadline.

   4        WHEREFORE, the Broidy Defendants request that the Court direct the
   5 Clerk of Court to issue either the summons requested at Dkt. No. 54 or the

   6 summons requested at Dkt. No. 57, as the Court deems appropriate.

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       Dated: November 2, 2021            Respectfully submitted,

   9                                      MCGUIREWOODS LLP
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  11                              By:     s/ Kevin M. Lally
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              BROIDY DEFENDANTS’ EX PARTE MOTION FOR ISSUANCE OF A SUMMONS TO THE STATE OF QATAR
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   1
                                  CERTIFICATE OF SERVICE

   2        I certify that, on November 2, 2021, I electronically filed the foregoing with

   3 the Clerk of the Court using the CM/ECF system, which will send notice to all

   4 counsel of record.

   5                                     s/ Kevin M. Lally
                                         Kevin M. Lally
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             BROIDY DEFENDANTS’ EX PARTE MOTION FOR ISSUANCE OF A SUMMONS TO THE STATE OF QATAR
